  Case 1:17-cv-01476-MN Document 36 Filed 10/31/19 Page 1 of 3 PageID #: 174




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 LEVITATION ARTS, INC.,                            )
                                                   )
                        Plaintiff,                 )
                                                   )
                v.                                 ) C.A. No. 17-1476 (MN)
                                                   )
 PLOX, INC.,                                       )
                                                   )
                        Defendant.                 )

                                              ORDER

       At Wilmington this 31st day of October 2019:

       WHEREAS, on October 18, 2017, Plaintiff Levitation Arts, Inc.’s (“Plaintiff”) filed the

present action, alleging that Defendant Plox, Inc. (“Defendant”) infringes U.S. Patent

No. 7,505,243 (see D.I. 1);

       WHEREAS, Defendant retained the law firm of Reed Smith LLP as counsel in this action

and, on January 11, 2018, Defendant answered the Complaint (D.I. 8) and thereafter engaged in

limited initial discovery after entry of the Scheduling Order;

       WHEREAS, on January 23, 2019, the Court granted Reed Smith LLP’s motion to withdraw

as counsel and ordered Defendant to retain new counsel on or before February 22, 2019 (see

D.I. 32) as Defendant is a corporation that cannot appear in this action pro se;

       WHEREAS, Defendant has failed to retain new counsel and make a subsequent appearance

since the Court granted Reed Smith LLP’s motion to withdraw;

       WHEREAS, on July 9, 2019, Plaintiff filed a “Motion for Entry of Default Judgment”

(D.I. 35), seeking an “Order of Default Judgment” and an order granting Plaintiff a reasonable

amount of time after entry of “Default Judgment” to provide the Court with the amount of damages

to be adjudged in favor of Plaintiff, as well as the supporting evidence (id. at 3);
  Case 1:17-cv-01476-MN Document 36 Filed 10/31/19 Page 2 of 3 PageID #: 175




        WHEREAS, entry of default judgment under Federal Rule of Civil Procedure 55 is a two-

step process that first requires entry of default by the Clerk of Court against a party that “has failed

to plead or otherwise defend, and that failure is shown by affidavit or otherwise” (FED. R. CIV.

P. 55(a)), followed by entry of default judgment by the Clerk if Plaintiff’s claim is for a sum certain

or can be made certain by computation or otherwise by the Court upon application (see FED. R.

CIV. P. 55(b)); and

        WHEREAS, Defendant’s default has not been entered, but the record in this case shows

that Defendant has failed to make a subsequent appearance after its original counsel withdrew and,

as a result, has failed to otherwise defend in this action since January 23, 2019 (see, e.g., Evanston

Ins. Co. v. Layne Thomas Builders, Inc., No. 08-286-JJF, 2010 WL 1213433, at *1 (D. Del. Mar.

26, 2010) (defendant failed to “otherwise defend” and therefore entry of default under Rule 55(a)

proper where corporate defendant was ordered to obtain new counsel after previous counsel

permitted to withdraw, but defendant failed to do so even eight months after court order); see also

Hoxworth v. Blinder, Robinson & Co., 980 F.2d 912, 917 (3d Cir. 1992) (the phrase “or otherwise

defend” in Rule 55(a) is afforded broad meaning in Third Circuit)).

        THEREFORE, IT IS HEREBY ORDERED that:

        1.      Plaintiff’s motion (D.I. 35) is GRANTED to the extent that it requests entry of

default against Defendant under Rule 55(a);

        2.      Plaintiff’s motion (D.I. 35) is DENIED to the extent that it requests entry of default

judgment under Rule 55(b);

        3.      The Clerk is directed to ENTER DEFAULT against Defendant;

        4.      Plaintiff shall serve a copy of the Clerk’s Entry of Default on Defendant and its

registered agent, and Plaintiff shall file with the Court proof of service of the same; and




                                                   2
 Case 1:17-cv-01476-MN Document 36 Filed 10/31/19 Page 3 of 3 PageID #: 176




       5.      Plaintiff shall file any application for default judgment within forty-five (45) days

of filing proof that the Clerk’s Entry of Default has been served on Defendant.




                                                     The Honorable Maryellen Noreika
                                                     United States District Judge




                                                 3
